     Case 1:05-cr-00048-AWI-BAM Document 320 Filed 10/16/14 Page 1 of 2


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 3   Fresno, CA 93704
     Telephone: 559-431-9710
 4   Attorney for Defendant, JESUS MEJIA aka ELIXANDRO NEVARES LOPEZ
 5
                                             UNITED STATES DISTRICT COURT
 6
                                             EASTERN DISTRICT OF CALIFORNIA
 7

 8
     UNITED STATES OF AMERICA,                         No. 1:05-CR-00048-AWI-BAM-15
 9
                                Plaintiff,             STIPULATION TO ADVANCE
10                                                     SENTENCING HEARING AND ORDER
            v.                                         THEREON
11
     JESUS MEJIA aka ELIXANDRO
12   NEVARES LOPEZ                                     Date: October 20 , 2014
                                                       Time: 8:30 a.m.
13                             Defendant.              Judge: Honorable Lawrence J. O’Neill
                                                              United States Judge
14

15
                                               STIPULATION
16
            It is hereby stipulated by and between the parties hereto that the sentencing hearing in the
17
     above entitled matter now set for November 24, 2014, at 10:00 a.m. before the Honorable
18
     Anthony W. Ishii, may be advanced to October 20, 2014 at 8:30a.m. before the Honorable
19
     Lawrence J. O’Neill.
20
            The parties agree that time shall be excluded pursuant to 18 U.S.C. § 3161, subd. (h) (7)
21
     (A) and (B) in that the ends of justice served by the continuance outweigh the best interest of the
22
     public and the defendant in a speedy trial, since the failure to grant such a continuance would
23
     deny counsel for the defendant the reasonable time necessary for effective preparation, and plea
24
     negotiations taking into account the exercise of due diligence.
25

26
            Good cause exists for the advancement of this sentencing hearing and the assignment to
27
     United States District Judge Lawrence J. O’Neill, because District Judge Anthony W. Ishii is
28
                                                      1
     Case 1:05-cr-00048-AWI-BAM Document 320 Filed 10/16/14 Page 2 of 2


 1   unavailable to hear the matter on October 20, 2014, and because the agreement and the

 2   presentence investigative report all recommend a sentence of “time served”.

 3

 4

 5   DATED: October 14, 2014               FLETCHER & FOGDERUDE, INC.

 6                                          /s/ Eric K. Fogderude        .
                                           ERIC K. FOGDERUDE
 7
                                           Attorney for Defendant,
 8                                         JESUS MEJIA aka ELIXANDRO NEVARES LOPEZ

 9   DATED: October 14, 2014               /s/ Brian Bedrosian______________________
10                                         BRIAN BEDROSIAN,
                                           US Probation Officer
11

12   DATED: October 14, 2014               Benjamin B. Wagner

13                                         United States Attorney

14                                         /s/ Karen Escobar                   .
                                           KAREN ESCOBAR , Assistant US Attorney
15

16                                                 ORDER
17          Time is excluded pursuant to 18 U.S.C. §3161, subd.(h)(8)(A) and (B). For the above
18   stated reasons, the court finds that the ends of justice served by the delay outweigh the best
19
     interest of the public and the defendant in a speedy trial. Therefore, the court grants the
20   stipulation that the sentencing hearing be advanced from November 24, 2014 at 10:00 a.m. to
21   October 20, 2014 at 8:30 a.m. before Judge Lawrence J. O’Neill.
22   IT IS SO ORDERED.

23      Dated:     October 15, 2014                           /s/ Lawrence J. O’Neill
                                                           UNITED STATES DISTRICT JUDGE
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